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                        IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MISSISSPPI
                                 NORTHERN DIVISION



CURTAVIOUS SIMPSON AND                                                               PLAINTIFFS
MARCUS LAWSON

VS.                                                     Civil Action No. 3:21-cv-818-DPJ-FKB



HINDS COUNTY, MISSISSIPPI                                                           DEFENDANT

                                                                             JuryTrial Demanded

                                          COMPLAINT
                                       Jury Trial Demanded

       COMES NOW the Plaintiffs, Curtavious Simpson and Marcus Lawson, and in support of

this, their Complaint for damages against the Defendant, Hinds County, Mississippi, respectfully

allege the following:

                                             PARTIES

       1.      Plaintiffs, Curtavious Simpson and Marcus Lawson, (“Plaintiffs”) are adult

resident citizens of the State of Mississippi.

       2.      Defendant, Hinds County, Mississippi, is a political subdivision existing under the

laws of the State of Mississippi. It may be served with process by service of the complaint and

summons upon the Chancery Clerk of Hinds County, Mississippi,

                                     JURISDICTION AND VENUE

       3.      This Court has personal jurisdiction over the parties.

       4.      Subject matter jurisdiction is appropriate in federal court since a federal question

is raised pursuant to 42 U.S.C. §1983 as well as the 8th and 14th Amendments to the United

States Constitution.


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         5.     Venue is proper in the United States District Court for the Southern District of

Mississippi, Northern Division pursuant to Title 28 U.S.C §1391 as same is the judicial district in which a

substantial part of the events or omissions giving rise to the claim occurred.

                                                  FACTS

        6.      Plaintiff incorporates the preceding paragraphs as if fully rewritten herein.

        7.      Defendant’s operation of the facility was regulated and monitored by a federal

court consent decree entered in 2016, to address unconstitutional conditions of confinement to

include inmate on inmate assault, inadequate security, inmate violence, correctional officer

shortages and poor management.

        7.      The conditions that existed within the Hinds County Detention Center, Raymond,

Mississippi, operated, managed and controlled by Hinds County, Mississippi, before and on

April 1, 2019, the date of the subject incident, including an unacceptable degree of gang activity

that compromised security and safety that contributed to employee and inmate fraternization,

inmate and employee collusion and graft that undermined security and safety; inadequate

training and staffing, inadequate supervision, inadequate training and enforcement of core

values, failure to perform and enforce standard operating procedures for the safe and efficient

prison operations all directed at inmate security and control resulting in prior assaults.

        8.      Specifically, the conditions existing at the time of the occurrence included faulty

or altered locks, locks that are non-functional or locks that could be opened by certain prisoners

at will. Hinds County supervisors and employees were aware that prisoners had altered the locks

on their doors or that the locks were non-functional which allowed prisoners to open or enter

doors at a time of their choosing. Defendant failed to take adequate measures to ensure that the




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defective locks or doors were repaired or replaced and failed to ensure that they were examined

for effectiveness or being altered.

        9.      An atmosphere of violence fueled by uncontrolled gang activity spawning the

ready availability of drugs, weapons and other contraband that flowed into the prison; and an

unabated level of gang activity that undermined effective institutional control of the facility.

Hinds County supervisors and employees were aware of such illicit activity and colluded with

prisoners to facilitate such activity or simply ignored the illicit practices. Hinds County failed to

implement reasonable and achievable policies to reduce gang activity and its foreseeable

consequences despite its knowledge that such an unreasonable risk of harm existed due to gang

activity or applied such measures or half-measures with negligence, gross negligence and/or

deliberate indifference.

        10.     Hinds County supervisors and its employees failed to conduct adequate and

legitimate inspections of prisoner cells and belongings for contraband. Hinds County employees

would either ignore contraband if stumbled upon, or simply ignore it and not report it due to

collusion or fear of retaliation.

        11.     On April 1, 2019, Plaintiffs were prisoners housed at Hinds County Detention

Center, Raymond, Mississippi.

        12.     On April 1, 2019, a group of inmates who were not locked in their cells, initiated

an inmate on inmate attack or fight as a consequence of failure to protect other inmates to

include the Plaintiffs.

        13.     The group of inmates as referenced hereinabove let other inmates out of their cells

to participate in the fight and were able to leave their cells through the other means of escape.




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        14.    At all pertinent times herein after the Defendant had actual notice of the events

leading up to the disturbance, riot and assault in question, its response to both were inadequate to

prevent the disturbance, quell the riot or restore order.

        15.    The assault upon the Plaintiff continued for an extended period of time resulting

in further injury while the prison guards failed to restore order and security.

        16.    Said incident caused cognizable injuries to Plaintiffs.

                                       CAUSE OF ACTION
                                      §1983 Causes of Action

        17. Plaintiff incorporates the preceding paragraphs as if full rewritten herein.

        18. By and through Defendant’s deliberate indifference to the safety of the Plaintiffs and

other inmates on the date of the occurrence, and the establishment of customs, policies and

practices which created unconstitutional conditions of confinement, Defendants violated the

clearly established constitutional rights of the Plaintiff, including but not limited to:

        (a)    Cruel and unusual punishment under the 8th and 14th Amendments;

        (b)    Plaintiff’s right not to be deprived of liberty without due process of law;

        (c)    Plaintiff’s right to be safe and protected from injuries while in Defendants’

               custody;

        (d)    Plaintiff’s right to be protected by the prison officials and guards while under

               their control; and

        (e)    Plaintiff’s right to be free from excessive and unreasonable force.

        19.    As a direct and foreseeable result of Defendant’s actions and omissions, Plaintiff

suffered damages including but not limited to, severe physical injuries, past, present and future

medical expenses, emotional, distress, mental pain and suffering, permanent impairment and

disability.



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       20.     Defendants, in their official capacities, established customs, policies and practices

which directly and proximately caused the deprivation of the Plaintiff’s constitutional rights as

alleged herein.      By their policies and practices described herein, Defendants subjected the

Plaintiff to substantial risk of harm by failing to protect from violence, ignoring by act or

omission, emergency situations, and enabling violent attack on the Plaintiff. These policies and

practices were implemented by the Defendants and their agents, officials, employees and all

persons acting in concert with them under color of state law, in their official capacities, and are

the cause of the Plaintiff’s deprivation of rights secured by the United States Constitution under

the Eighth and Fourteenth Amendments and federal law.                   Defendants were deliberately

indifferent to the safety of the Plaintiff and other WGCF inmates.

       21.     Defendants were aware of all the deprivations complained of herein, and have

condoned or were deliberately indifferent to such conduct.

       22.     These policies created unconstitutional conditions of confinement.

       23.     Such unwritten policies, customs and practices include but are not limited to the

following:

               (a)       Inadequate and improper planning and training, including but not limited

                         to emergency response planning and training, supervision and discipline of

                         Hinds County correctional officers;

               (b)       Inadequate and improper procedures and practices in screening, hiring,

                         training, supervising and disciplining officers who practice, condone or

                         permit inmate on inmate assaults upon Hinds County inmates, including

                         the Plaintiffs in violation of their constitutional rights;




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                 (c)    Inadequate and improper procedures, policies and practices for

                        investigating improper activities by Hinds County correctional officers

                        either through offender complaints of misconduct or through internally-

                        initiated complaints or investigations;

                 (d)    Inadequate or improper procedures, policies and practices for identifying

                        and taking appropriate action against Hinds County correctional officers

                        who are in need of retraining, corrective measure, reassignment, or other

                        non-disciplinary actions through a positive or early warning system

                        designed to prevent the violation of inmates’ rights.

                 (e)    Failing to prevent and/or investigate allegations of improper relationships

                        between Hinds County correctional officers and Hinds County inmates

                        which directly led to the subject assault; and

                 (f)    Failing to adequately staff the facility with trained and qualified guards

                        and allowing the prison to be understaffed.

                 (g)    Failing to supervise, monitor and comply with the contract entered into

                        between the Defendants;

                                             DAMAGES

       24.       Plaintiff incorporates the preceding paragraphs as if fully rewritten herein.

       25.       As a further direct and proximate cause of Defendants’ disregard for Plaintiff’s

safety and well being and other negligent acts, Plaintiff suffered serious bodily injuries,

including but not limited to monetary damages. These damages include, but are not limited to

the following:

       a. past, present and future medical expenses;




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        b. past, present and future physical pain and suffering;

        c. future lost wages and loss of wage earning capacity;

        d. permanent disability;

        e. past, present and future mental and emotional distress;

        f. inconvenience and discomfort and

        g. any other relief, which the Court or jury deems just or appropriate based upon the

circumstances.

                                        PUNITIVE DAMAGES

        26.      Plaintiff incorporates the preceding paragraphs as if fully rewritten herein.

        27.      The acts and omissions of the Defendants described herein constitute a willful, wanton,

grossly negligent conduct and reckless disregard for the safety of all inmates, including the Plaintiffs, and

such acts and omissions constitute gross negligence and evince a complete disregard for the safety of the

Plaintiffs that directly caused the Plaintiffs’ bodily injuries and other damages, for all of which the

Defendants are liable for punitive damages and attorney’s fees in an amount to be determined by the jury.

        28.      Based upon the Defendants’ actions and inactions as aforesaid, the Defendant’s

actions warrant the imposition of punitive damages. Plaintiff seeks punitive damages and

punitive damages should be assessed against the Defendant.

                                       PRAYER FOR RELIEF

        Plaintiffs requests a jury trial and seek the following relief:

        A. Compensatory damages of from and against the Defendant in an amount to be

              determined by this Court.

        B. Non-pecuniary damages of from and against the Defendant in an amount to be

              determined by this Court.




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      C. Punitive damages of from and against the Defendant in an amount to be determined

          by this Court.

      D. Attorney’s fees under 42 U.S.C. §1988 and all costs of court.

      E. Pre and post judgment interest.

      F. Such other general and special relief as appears reasonable and just in this cause.

                                            Respectfully submitted,

                                            CURTAVIOUS SIMPSON
                                            AND MARCUS LAWSON,
                                            PLAINTIFFS


                                            By:    _s/Yancy B. Burns__________________
                                                   YANCY B. BURNS (MSB #99128)

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